Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 1
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 2
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 3
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 4
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 5
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 6
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 7
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 8
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 9
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 10
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 11
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 12
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 13
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 14
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 15
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 16
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 17
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 18
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 19
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 20
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 21
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 22
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 23
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 24
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 25
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 26
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 27
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 28
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 29
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 30
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 31
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 32
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 33
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 34
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 35
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 36
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 37
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 38
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 39
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 40
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 41
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 42
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 43
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 44
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 45
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 46
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 47
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 48
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 49
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 50
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 51
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 52
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 53
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 54
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 55
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 56
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 57
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 58
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 59
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 60
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 61
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 62
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 63
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 64
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 65
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 66
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 67
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 68
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 69
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 70
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 71
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 72
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 73
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 74
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 75
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 76
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 77
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 78
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 79
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 80
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 81
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 82
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 83
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 84
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 85
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 86
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 87
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 88
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 89
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 90
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 91
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 92
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 93
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 94
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 95
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 96
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 97
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 98
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 99
                                   of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 100
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 101
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 102
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 103
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 104
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 105
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 106
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 107
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 108
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 109
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 110
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 111
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 112
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 113
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 114
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 115
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 116
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 117
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 118
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 119
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 120
                                    of 121
Case No. 1:25-cv-00423-STV   Document 1 filed 02/07/25   USDC Colorado   pg 121
                                    of 121
